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                              Exhibit 2
            Proposed Order Granting Motion for
             Leave to File Brief as Amici Curiae
            in Opposition to Defendants' Motion
                         to Dismiss
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION


  STATE OF FLORIDA.                                Case No. 23:cv-61188-RS

        Plaintiff,

               v.                                    JUDGE RODNEY SMITH

  MIGUEL CARDONA ET AL.,

       Defendants.


      ORDER GRANTING MOTION FOR LEAVE TO FILE BRIEF AS AMICI CURIAE IN
                 OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
  ____________________________________________________________________________

        THIS CAUSE comes before the Court upon the Motion of Eight Former

  Senior Leaders of the United States Department of Education for Leave to File

  Brief as Mici Curiae in Opposition to Defendants’ Motion to Dismiss (the”Motion”).

  This Court having considered the Motion and all other relevant factors, it is

  ORDERED AND ADJUDGED as follows:

        The Motion is GRANTED. The Court accepts as filed the brief of Former

  Assistant Secretary Jim Blew, Former Senior Counselor to the Secretary and

  Former Deputy General Counsel Robert Eitel, Former Principal Deputy Under

  Secretary Diane Auer Jones, Former Assistant Secretary Scott Stump, Former

  Principal Deputy Assistant Secretary Christopher McCaghren, Former Deputy

  Assistant Secretary Adam Kissel, Former Deputy Assistant Secretary Dr. Casey




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  Sacks, and Former Senior Policy Advisor Michael Brickman, and the Defense of

  Freedom Institute for Policy Studies, submitted as an attachment to the Motion.



  DONE AND ORDERED in Chambers in Fort Lauderdale, Florida this ___ day of

  ____, 2023.



                                        _______________________________
                                        RODNEY SMITH
                                        UNITED STATES DISTRICT JUDGE
  Cc: All Counsel of Record




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